         Case 2:22-cv-01803-BMS Document 1 Filed 05/10/22 Page 1 of 36




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

___________________________________________________________________________
A.B.                                :
3311 North Bouvier Street           :
Philadelphia, PA 19140              :
                                    :
               v.                   :
                                    :     NO.
CITY OF PHILADELPHIA                :
1401 J.F.K. Boulevard               :
Philadelphia, PA 19102              :

                                   EMERGENCY ORDER

       AND NOW, to wit, this ______________ day of _______________, 2022, upon

consideration of Petitioner’s Petition for an Emergency Stay of adoption proceedings, it is hereby

ORDERED and DECREED, that said Petition is GRANTED.

       The adoptions of the minor children known as “J.M.B.” “M.A.G.J.B.” and “H.A.M.W.”

are stayed pending further order from the Court.

                                             By the Court:

                                             _____________________________
                                                                     J.
         Case 2:22-cv-01803-BMS Document 1 Filed 05/10/22 Page 2 of 36




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

___________________________________________________________________________
A.B.                                :
3311 North Bouvier Street           :
Philadelphia, PA 19140              :
                                    :
               v.                   :
                                    :     NO.
CITY OF PHILADELPHIA                :
1401 J.F.K. Boulevard               :
Philadelphia, PA 19102              :

                                            ORDER

       AND NOW, to wit, this ______________ day of _______________, 2022, upon

consideration of Petitioner’s Petition to Set Aside Orders terminating her parental rights for the

minor children known as J.M.B., M.A.G.J.B., and H.A.M.W, and any responses thereto, it is

hereby ORDERED and DECREED, that said Petition is GRANTED.

       The Orders as to as J.M.B., M.A.G.J.B., and H.A.M.W are hereby set aside, and the

Philadelphia Court of Common Pleas is hereby directed to schedule a new trial in the Matter of

A.B.

                                             By the Court:

                                             _____________________________
                                                                     J.
         Case 2:22-cv-01803-BMS Document 1 Filed 05/10/22 Page 3 of 36




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

___________________________________________________________________________
A.B.                                :
3311 North Bouvier Street           :
Philadelphia, PA 19140              :
                                    :
               v.                   :
                                    :     NO.
CITY OF PHILADELPHIA                :
1401 J.F.K. Boulevard               :
Philadelphia, PA 19102              :

                                  RULE TO SHOW CAUSE

       AND NOW, to wit, this ______________ day of _______________, 2022, upon

consideration of Petitioner’s Petition to Set Aside Orders terminating her parental rights for the

minor children known as J.M.B., M.A.G.J.B., and H.A.M.W, a rule is issued by upon Defendant

to show cause why the relief sought should not be granted.

       This Rule is returnable on the _____________ day of ______________, 2022, in

Courtroom _________ at ______ o’clock at the Federal Courthouse located at 601 Market Street,

Philadelphia, PA.

                                             By the Court:

                                             _____________________________
                                                                     J.
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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

___________________________________________________________________________
A.B.                                :
3311 North Bouvier Street           :
Philadelphia, PA 19140              :
                                    :
               v.                   :
                                    :     NO.
CITY OF PHILADELPHIA                :
1401 J.F.K. Boulevard               :
Philadelphia, PA 19102              :

                                                 PETITION

        1.       Petitioner is an individual residing at the address above given.

        2.       Defendant, City of Philadelphia is a political subdivision of the Commonwealth of

Pennsylvania, with its principal place of business located at the address above given.

        3.       At all times relevant hereto, Defendant acted by and through its agents, servants,

workmen, and/or employees who, at all times relevant hereto, were acting within the course and

scope of their employment with Defendant and in furtherance of Defendant’s business.

                                          JURISDICTION

        4.       Jurisdiction is proper in this Court because the Complaint alleges violations of

Petitioner’s Constitutional Rights.

                                               VENUE

        5.       Venue is proper in this jurisdiction as all the events that make up the basis for each

of the causes of action arose in this jurisdiction as well as the fact that it is also where Defendant’s

principal place of business is located.
            Case 2:22-cv-01803-BMS Document 1 Filed 05/10/22 Page 5 of 36




                                              FACTS

       6.       Petitioner is the biological mother of minor children, who shall be known as J.M.B.,

J.B., M.B., H.A.M.W., H.W., and M.A.G.J.B. (Hereinafter collectively referred to as minor

children”

       7.       Petitioner was the subject of a petition filed by the Philadelphia Department of

Human Services seeking to terminate her parental rights and/or to change the permanency goal for

each child to adoption.

       8.       Hearings were held on April 28, 2021, and June 1, 2021.

       9.       After said hearings, the Court in the Philadelphia Court of Common pleas issued

six orders pertaining to J.M.B., M.A.G.J.B. and H.A.M.W.

       10.      Three of the orders terminated Petitioner’s parental rights to each of the children.

       11.      The other three orders changed the permanency goal for each of the children to

adoption.

       12.      Petitioner appealed the decision to the Pennsylvania Superior Court, which

affirmed the orders on December 14, 2021. A copy of the Superior Court decision is attached

hereto and marked as Exhibit “A.”

       13.      One basis of appeal was whether The Superior Court’s opinion focused on

Petitioner’s then counsel’s inability to get 13 exhibits into evidence.

       14.      The Superior Court referred to these documents as unauthenticated hearsay.

Exhibit “A,” page 9.

       15.      The Superior Court also specifically stated that “appeared to be unprepared for

objections that the documents were unauthenticated hearsay.” Exhibit “A,” page 9.
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        16.     The trial court had explained that none of Mother’s proffered exhibits “were self-

identifying [or] self-authenticating, and thus did not comply with PA R.E. 902.” Therefore, the

documents were properly excluded from the trial.

        17.     Upon information and belief, had the documents been introduced into evidence, it

is possible that the six orders would not have been entered.

        18.     A parent has a fundamental constitutionally protected interest in parental rights.

        19.     Accordingly, a parent has a right to effective assistance of counsel.

        20.     Petitioner’s then counsel failed to produce witnesses who could authenticate the

documents.

        21.     Such conduct is egregious, especially considering a parent facing the termination

of her parental rights.

        22.     Petitioner’s prior counsel’s conduct rises to the level of ineffective assistance.

        23.     Although Petitioner’s appeal did address the question of her then Counsel’s

conduct, it does not appear to have been presented as a violation of her constitutional right to

effective assistance of counsel.

        24.     Upon information and belief, there are current proceedings to adopt each of the

three children which are going to be finalized within the next two weeks.

        25.     Petitioner seeks an immediate stay of the adoption proceedings, pending the

outcome of a new trial to determine the underlying petitions.

        26.     Time is of the essence.

                                   COUNT I
                      EMERGENCY PETITION TO STAY ADOPTION

        27.     Petitioner incorporates by reference the averments contained in all previous

paragraphs as if more fully set forth herein.
         Case 2:22-cv-01803-BMS Document 1 Filed 05/10/22 Page 7 of 36




       28.     Petitioner seeks an emergency stay of the adoption proceedings.

       29.     If the adoption proceedings are finalized and then it is determined that Petitioner’s

parental rights should not have been terminated, then the children will be harmed in that they will

have bonded with their new families, only to be removed at a later date.

       30.     The goal should always be to do what is in the best interests of the children.

       31.     It is in the best interests of the children to have the determination of their biological

mother’s rights before any such bond is created with the proposed adoptive parents.

       32.     If the Court grants the stay, it will maintain the status quo and no party will be

prejudiced.

       WHEREFORE, Petitioner respectfully requests that this Honorable Court issue an order

staying the adoption proceedings pending the outcome of this action and any subsequent trial to

re-determine the petitions in the underlying case.

                                     COUNT II
                          PETITION FOR A NEW TRIAL BASED
                      ON INEFFECTIVE ASSISTANCE OF COUNSEL

       33.     Petitioner incorporates by reference the averments contained in all previous

paragraphs as if more fully set forth herein.

       34.     Petitioner’s then counsel attempted to introduce thirteen documents into evidence

which were rejected by the trial court.

       35.     The Superior Court acknowledged that the Petitioner had a constitutional right to

effective assistance of counsel.

       36.     It also acknowledged that the attorney may have been ineffective, but because it

deemed that the conduct did not result in a complete preclusion of certain evidence then there was

no basis to reverse on that ground. Exhibit “A,” page 10,
         Case 2:22-cv-01803-BMS Document 1 Filed 05/10/22 Page 8 of 36




       37.     The Court stated that the evidence would “merely[go] to the weight of other

evidence presented, by both Mother and DHS.”

       38.     With all due respect to the Superior Court, it missed the point entirely with regard

to the significance of the evidence.

       39.     As the Court duly noted, “Mother’s argument does not acknowledge that the trial

court extensively considered her testimony — that she was making progress toward her goals —

with the evidence by DHS that she was not.”

       40.     As such, the introduction of the documents was critical to support and confirm

Petitioner’s testimony.

       41.     This is particularly true because DHS was required to prove its position by clear

and convincing evidence.

       42.     There is nothing in any record to establish that if the trial court had had the ability

to review the rejected documents, that the decision would have been the same.

       43.     Authenticating documents is simply a matter of getting either a stipulation or

producing witnesses to testify about the documents.

       44.     There is no excuse for Petitioner’s then trial counsel to not obtain a stipulation or

subpoena the necessary witnesses to assure their attendance at trial.

       45.     Petitioner’s then counsel was ineffective.

       46.     Petitioner was denied her constitutional right to effective assistance of counsel.

       47.     A new trial is necessary to adjudicate Petitioner’s fitness as a parent, with all the

evidence being presented for consideration by the Court.
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       WHEREFORE, Petitioner respectfully requests that the orders terminating Petitioner’s

parent rights, as well as the orders changing the goal to adoption be vacated and a new trial be

ordered.

                                                   FEINSTEIN & FIORAVANTI



                                            BY:
                                                   Steven C. FEINSTEIN, ESQUIRE
                                                   657 Exton Commons
                                                   Exton, PA 19341
                                                   610.410.9680
                                                   Steven.C.Feinstein.Esq@gmail.com
                                                   Attorney for Petitioner

Date: May 10, 2022
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                         EXHIBIT “A”
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NON-PRECEDENTIAL DECISION - SEE SUPERIOR COURT I.O.P. 65.37

 IN THE INTEREST OF: J.M.B.,            :   IN THE SUPERIOR COURT OF
 A MINOR                                :        PENNSYLVANIA
                                        :
                                        :
                                        :
 APPEAL OF: A.B., MOTHER                :   No. 1281 EDA 2021

                Appeal from the Order Entered June 1, 2021
  In the Court of Common Pleas of Philadelphia County Juvenile Division at
                     No(s): CP-51-AP-0000081-2021



 IN THE INTEREST OF: J.B., A MINOR      :   IN THE SUPERIOR COURT OF
                                        :        PENNSYLVANIA
                                        :
                                        :
 APPEAL OF: A.B., MOTHER                :   No. 1282 EDA 2021

                Appeal from the Order Entered June 1, 2021
  In the Court of Common Pleas of Philadelphia County Juvenile Division at
                     No(s): CP-51-DP-0000737-2017



 IN THE INTEREST OF: M.A.G.J.B.,        :   IN THE SUPERIOR COURT OF
 A MINOR                                :        PENNSYLVANIA
                                        :
                                        :
 APPEAL OF: A.B., MOTHER                    No. 1283 EDA 2021

                Appeal from the Order Entered June 1, 2021
  In the Court of Common Pleas of Philadelphia County Juvenile Division at
                     No(s): CP-51-AP-0000082-2021
      Case 2:22-cv-01803-BMS Document 1 Filed 05/10/22 Page 12 of 36
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 IN THE INTEREST OF: M.B.,              :   IN THE SUPERIOR COURT OF
 A MINOR                                :        PENNSYLVANIA
                                        :
                                        :
                                        :
 APPEAL OF: A.B., MOTHER                :   No. 1284 EDA 2021

                Appeal from the Order Entered June 1, 2021
  In the Court of Common Pleas of Philadelphia County Juvenile Division at
                     No(s): CP-51-DP-0000163-2019



 IN THE INTEREST OF: H.A.M.W.,          :   IN THE SUPERIOR COURT OF
 A MINOR                                :        PENNSYLVANIA
                                        :
                                        :
                                        :
 APPEAL OF: A.B., MOTHER                :   No. 1285 EDA 2021

                Appeal from the Order Entered June 1, 2021
  In the Court of Common Pleas of Philadelphia County Juvenile Division at
                     No(s): CP-51-AP-0000083-2021



 IN THE INTEREST OF: H.W.,              :   IN THE SUPERIOR COURT OF
 A MINOR                                :        PENNSYLVANIA
                                        :
                                        :
                                        :
 APPEAL OF: A.B., MOTHER                :   No. 1286 EDA 2021

                Appeal from the Order Entered June 1, 2021
  In the Court of Common Pleas of Philadelphia County Juvenile Division at
                     No(s): CP-51-DP-0002042-2018


BEFORE:    BOWES, J., STABILE, J., and McCAFFERY, J.

MEMORANDUM BY McCAFFERY, J.:                  FILED DECEMBER 14, 2021

     This termination of parental rights matter pertains to three children:

J.M.B. (hereinafter, J.B.), M.A.G.J.B. (hereinafter, M.B.) and H.A.M.W.


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(hereinafter, H.W.).1 A.B. (Mother) appeals from the six orders entered the

same day in the Philadelphia County Court of Common Pleas: three, which

terminated her parental rights to each of the children, and three, which

changed the permanency goal for each child to “adoption.”        On appeal,

Mother: (1) presents various claims that she was denied due process and a

full and fair evidentiary hearing; and (2) avers both the termination orders

and goal change orders were not supported by clear and convincing evidence.

We affirm.

                          I. Facts & Procedural History

       J.B. was born in 2013, and M.B. was born in 2018. Their father is G.J.

The middle child, H.W. was born in 2017.         His father is M.W., who was

incarcerated at the time of the termination and goal change hearings




____________________________________________


1 All three children are known by different initials in the captions. J.M.B.
(Docket 1281 EDA 2021) is the same child as J.B. (Docket 1282 EDA 2021).
M.A.G.J.B. (Docket 1283 EDA 2021) is M.B. (Docket 1284 EDA 2021).
H.A.M.W. (Docket 1285 EDA 2021) is H.W. (Docket 1286 EDA 2021).

      The parental rights of H.W.’s father, M.W., were terminated the same
day. His appeals from that order, as well as the goal change order, are
currently pending before this same panel at 1217 EDA 2021 and 1218 EDA
2021.

      The parental rights of J.B. and M.J.’s father, G.J., were likewise
terminated. His appeals are pending before this Court at 1344 EDA 2021,
1345 EDA 2021, 1346 EDA 2021, and 1347 EDA 2021.


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(collectively, “termination hearings”).2 Both fathers appeared at the hearings

by telephone or video.

       The trial court issued a thorough, 45-page opinion summarizing the

evidence presented, not only at the termination hearings of April 28 and June

1, 2021, but also at the regular permanency hearings, dating back to June of

2019. Because we write solely for the benefit of the trial court and the parties,

who are well familiar with the evidence presented, we need not reproduce the

entire factual and procedural history. Instead, we adopt the summary set

forth in the trial court’s opinion. See Trial Ct. Op., 7/27/21, at 2-15, 18-22

(testimony of parental capacity evaluator, Dr. William Russell), 22-29

(testimony of Turning Points for Children Caseworker Jasmine Jackson), 29-

33 (testimony of Mother).

       Nevertheless, for ease of review, we highlight the following.         The

children were adjudicated dependent on June 6, 2019, when J.B. was five

years old, H.W. was two years old, and M.B. was six months old. One year

and eight months thereafter, the Philadelphia Department of Human Services

(DHS) filed the underlying petitions to terminate Mother’s parental rights, on

February 16, 2021. The trial court conducted hearings on April 28 and June

1, 2021. Following the latter hearing, the court entered the underlying six


____________________________________________


2 H.W.’s and M.B.’s birth certificates did not list a father. Trial Ct. Op.,
7/27/21, at 1-2. However, at the termination hearings, M.W. appeared as
H.W.’s father, and G.J. appeared as M.B.’s father (as well as J.B.’s father).


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orders, which, respectively, terminated Mother’s parental rights and changed

the children’s permanency goals to adoption. At this time, J.B. was seven

years old, H.W. was four years old, and M.B. was two and a half years old.

       Mother filed timely, separate notices of appeal from each of the orders.3

This Court sua sponte consolidated the six appeals.

                     II. Statement of Questions Involved

       Mother presents the following issues for our review:

       1. Did the trial court violate Mother’s Fourteenth Amendment due
       process rights and abuse its discretion when it failed to conduct a
       full and fair evidentiary hearing?

       2. Were the trial court’s orders terminating Mother’s parental
       rights supported by clear and convincing evidence?

       3. Were the trial court’s orders changing the goals to adoption
       supported by clear and convincing evidence?

Mother’s Brief at 12-13.

                             III. Standard of Review

       We note the relevant, general standard of review:

       The standard of review which this Court employs in cases of
       dependency is broad. However, the scope of review is limited in
       a fundamental manner by our inability to nullify the fact-finding of
       the lower court. We accord great weight to this function of the
       hearing judge because he is in the position to observe and rule
       upon the credibility of the witnesses and the parties who appear
____________________________________________


3See Commonwealth v. Walker, 185 A.3d 969, 971 (Pa. 2018) (“[W]here
a single order resolves issues arising on more than one docket, separate
notices of appeal must be filed for each case.”). See also In the Int. of
K.M.W., 238 A.3d 465, 470 (Pa. Super. 2020) (en banc) (Walker applies to
children’s fast track cases).


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      Case 2:22-cv-01803-BMS Document 1 Filed 05/10/22 Page 16 of 36
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      before him. Relying upon his unique posture, we will not overrule
      his findings if they are supported by competent evidence.

In re M.P., 204 A.3d 976, 985 (Pa. Super. 2019) (citations omitted).

Moreover, we have stated:

      It is this Court’s responsibility to ensure that the record represents
      a comprehensive inquiry and that the hearing judge has applied
      the appropriate legal principles to that record. Nevertheless, we
      accord great weight to the court’s fact-finding function because
      the court is in the best position to observe and rule on the
      credibility of the parties and witnesses.

Interest of D.P., 972 A.2d 1221, 1225 (Pa. Super. 2009) (citation omitted).

                     IV. Mother’s Due Process Claims

      Mother first presents various claims that she was denied a full and fair

hearing. We address these seriatim. Initially, she avers the court violated

her due process rights by “abruptly terminat[ing]” the remote video testimony

of G.J. — J.B. and M.B.’s father. Mother’s Brief at 39. Mother recounts that

G.J., who was incarcerated and testifying by video, had “technical difficulties

with his audio connection,” and avers the “court did not suggest a short recess

to allow [him] to fix the connection.” Id. Mother contends, without further

explanation, that if G.J. were “able to keep testifying, he likely would have

provided additional evidence to support Mother’s defense. But he never had

a change to do so.” Id. at 40.

      By way of background, G.J. appeared by video at the June 1, 2021,

termination hearing. G.J. stated he was “in a house,” “at work.” N.T., 6/1/21,

at 71. Technical difficulties with his video connection arose, and the trial court


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asked G.J.’s attorney, who was present in court, for G.J.’s telephone number.

See id. at 68; Trial Ct. Op. at 37. Counsel replied he did not have it and,

when questioned by the trial court, could not recall the last time he talked to

G.J.   See N.T., 6/1/21, at 69-70 (counsel first stating he talked to G.J.

sometime since the “last hearing,” and upon further questioning by the court,

stating they “had a conversation after the case was [last] continued,” but he

could not recall the date).        The trial court found G.J. waived his right to

participate in the hearing due to his and counsel’s failure to “[s]ecure a good

line of communication and be in a position to present testimony to the Court

just like everyone else on this call.”4 Id. at 71.

       In response to Mother’s claim, that the termination of G.J.’s remote

video testimony deprived her of her due process rights, the trial court found

Mother’s argument vague:

            Mother’s allegation . . . is a broad assertion that does not
       state the basis of her claim. This Court cannot speculate what
       Mother’s allegations are where she only stated that [G.J.’s
       missing] testimony somehow would have supported her case and
       changed the decision of this Court.



____________________________________________


4Counsel further stated he had expected G.J. to be in court that day. N.T.,
6/1/21, at 72.

      On appeal, Mother’s characterization, that the trial court “abruptly
terminated [G.J.’s] remote testimony,” ignores the above circumstances —
that the trial court found G.J. and counsel failed to secure a reliable video
connection, and that counsel failed even to have a contact telephone number
for G.J. See Appellant’s Brief at 39; N.T., 6/1/21, at 69, 71.


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           Mother was never denied the opportunity to participate,
      testify, and present evidence on her behalf. She participated in
      the hearings on October 27, 2020, April 28, 2021 and June 1,
      2021. Mother and [G.J.] testified on October 27, 2020 and June
      1, 2021 and their attorneys were present . . . and presented
      evidence. Mother was not denied a fair and impartial hearing by
      this Court.

Trial Ct. Op. at 35 (paragraph break added).

      Despite this clear discussion by the trial court, on appeal, Mother

continues to omit from her argument any explanation as to what G.J. was

prevented from testifying to, nor how it would have supported her position.

Indeed, Mother does not address, let alone dispute, the trial court’s finding

that she has failed to “state the basis of her claim.” See Trial Ct. Op. at 35.

Given the lack of any supporting discussion, we conclude this issue is waived.

See Pa.R.A.P. 2119(a) (argument shall include such discussion and citation of

authorities as are deemed pertinent); Harris v. Toys “R” Us-Penn, Inc.,

880 A.2d 1270, 1279 (Pa. Super. 2005) (“We have repeatedly held that failure

to develop an argument with citation to, and analysis of, relevant authority

waives that issue on review. Pa.R.A.P. 2119(b)[.]”).

      Next, Mother avers she was deprived of her due process rights because

her attorney “failed to introduce relevant and probative evidence of her

compliance with DHS goals,” and thus deprived her of a full and fair hearing.

Mother’s Brief at 41, 43. In support, Mother claims, “Although her attorney

pre-marked thirteen exhibits showing Mother’s compliance with the DHS

goals, he did not succeed in getting any of the exhibits introduced into


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evidence. Indeed, counsel appeared to be unprepared for objections that the

documents were unauthenticated hearsay.”          Id. at 42.     These exhibits

included “a PHA Waitlist Eligibility Interview Invitation,” which would have

“show[n] that Mother was working to obtain better housing for her family.”

Id. at 21-22. Mother thus requests this Court reverse and remand for the

appointment of new counsel.

      Preliminarily, we note:

           The unique nature of parental termination cases has long
      been recognized by the Supreme Court of Pennsylvania. Thus,
      [in] In Re: Adoption of R.I., . . . 312 A.2d 601 (Pa. 1973), the
      Supreme Court held that an indigent parent in a termination of
      parental rights case has a constitutional right to counsel. The right
      to counsel in parental termination cases is the right to effective
      assistance of counsel even though the case is civil in nature.
      However, this right is more limited than that in criminal cases, as
      claims of ineffective assistance of counsel must be raised on direct
      appeal. We then review the record as a whole to determine
      whether or not the parties received a “fundamentally fair”
      hearing; a finding that counsel was ineffective is made only if the
      parent demonstrates that counsel’s ineffectiveness was “the cause
      of the decree of termination.” . . .

In the Interest of J.T., 983 A.2d 771, 774-75 (Pa. Super. 2009) (some

citations omitted).

      Here, the trial court explained that none of Mother’s proffered exhibits

“were self-identifying [or] self-authenticating, and thus did not comply with

Pa.R.E. 902.[ ]” Trial Ct. Op. at 39. See Pa.R.E. 902 (listing types of evidence

that are self-authenticating, or “requir[ing] no extrinsic evidence of

authenticity in order to be admitted[,]” including domestic and foreign public

documents and certified copies of public records). By way of example, the

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trial court recounted that “Mother testified she was in the process of obtaining

housing through [the Philadelphia Housing Authority] and only needed an

electricity bill for the screening process.” Trial Ct. Op. at 40. The court ruled

the PHA “Waitlist Eligibility Interview Invitation” was not admissible because

it was hearsay and not clearly established as a business record. Id.

      We note Mother does not argue that her counsel’s conduct caused the

termination decrees, and we would conclude the record would not support

such a finding. See Interest of J.T., 983 A.2d at 775. As Mother points out

elsewhere in her brief, she testified “that she had made progress toward her

goals and objections . . . since . . . December 2019.” Mother’s Brief at 20.

The   trial   court   considered   this    testimony.   Thus,   counsel’s   alleged

ineffectiveness did not result in the complete preclusion of certain evidence.

Instead, the evidence would have merely gone to the weight of other evidence

presented, by both Mother and DHS.

      Critically, Mother’s argument does not acknowledge that the trial court

extensively considered her testimony — that she was making progress toward

her goals — with the evidence by DHS that she was not. For example, with

respect to Mother’s claim that she attempted to secure housing, the trial court

considered Case Manager Jackson’s testimony to the following:

      Mother continues to live with her Maternal Grandmother. [T]here
      are concerns with Maternal Grandmother because she was
      identified as the alleged perpetrator of H.W.’s burn injury. [T]he
      home was not structurally inappropriate, however. the barrier with
      the home is the clutter. There is no space to place beds in the
      bedrooms. Mother has discussed attending different housing

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      programs. Mother has been referred several times to the DHS
      housing unit[,] and she explained to Mother that funds could be
      obtained for a security deposit and first and last month’s rent,
      however, Mother would have to show that she would be able to
      pay the rent on her own. Mother has not shown that and was
      ineligible for the housing program because she was non-compliant
      with her SCP objectives. Therefore, housing continues to be an
      outstanding objective for Mother.

Trial Ct. Op. at 26, citing N.T. 4/28/21, at 72-74.       The trial court also

considered DHS’ evidence that: Mother admitted she did not want to report

her job and income “because she did not want to pay child support for her

Children;” Mother’s “impulsive, aggressive behavior,” which led to, inter alia,

stay away orders, pertaining to both Case Manager Jackson and the children’s

resource family’s home; denial that the children had special needs or

“receive[d] therapeutic services, including for autism;” repeated positive drug

screens for opiates; and multiple arrests, charges, and incarceration for

unrelated criminal episodes. See id. at 19, 22. In light of the foregoing,

which Mother ignores on appeal, we conclude no relief is due on Mother’s

ineffectiveness assistance of counsel claim.

      In her final due process claim, Mother claims “[t]he trial court’s

statements and conducting during the hearing violated [her] due process

rights.” Mother’s Brief at 43. After citing relevant case authority, Mother’s

argument, in sum, is as follows:

           In this case, the trial court’s hostility toward both parents’
      counsel and its abrupt termination of the testimony of [G.J.’s] was
      intemperate and inappropriate, violated the Code of Judicial
      Conduct, and deprived the fathers and Mother of their due process
      rights.

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Id. at 44-45.

      Mother does not cite any particular statement or action by the court in

support of her contention that the court acted with “hostility.” See Mother’s

Brief at 44.    Her brief statement above fails to present any developed

discussion. Accordingly, this issue is waived. See Pa.R.A.P. 2119(a); Harris,

880 A.2d at 1279.

                V. Termination of Mother’s Parental Rights

      Next, Mother asserts the termination decrees were not supported by

clear and convincing evidence.     She discusses the Subsection 2511(a)(1)

grounds for termination solely, and avers the trial court “failed to focus [on]

Mother’s conduct during the six months immediately preceding the [February

12, 2021,] filing of the petition and instead relied heavily on evidence from

2019 and 2020 — well over a year before the hearing.” See Mother’s Brief at

46-49. See 23 Pa.C.S. § 2511(a)(1) (“[t]he parent by conduct continuing for

a period of at least six months immediately preceding the filing of the

petition either has evidenced a settled purpose of relinquishing parental claim

to a child or has refused or failed to perform parental duties[ ]”). In support,

Mother cites the trial court’s consideration of: (1) Dr. Russell’s testimony,

which “was based on his interview of Mother [on] December 11, 2019[;]” (2)

Dr. Russell’s March 1, 2020, report; (3) a “BHS Clinic Evaluation Progress

Report” and “Urine Drug Testing Reports” for Mother, all dated February of

2020; (4) Mother’s March 5, 2020, failure to appear for a CEU assessment;

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(5) Mother’s March 13, 2020, arrest; and (6) another trial judge’s June 8,

2020, order. Mother’s Brief at 48 (emphases omitted). We conclude no relief

is due.

      We note the relevant standard of review:

      In an appeal from an order terminating parental rights, our scope
      of review is comprehensive: we consider all the evidence
      presented as well as the trial court’s factual findings and legal
      conclusions. However, our standard of review is narrow: we will
      reverse the trial court’s order only if we conclude that the trial
      court abused its discretion, made an error of law, or lacked
      competent evidence to support its findings. The trial judge’s
      decision is entitled to the same deference as a jury verdict.

In re L.M., 923 A.2d 505, 511 (Pa. Super. 2007) (citations omitted).

      Section 2511 of the Adoption Act governs involuntary termination of

parental rights. See 23 Pa.C.S. § 2511. It requires a bifurcated analysis:

      Initially, the focus is on the conduct of the parent. The party
      seeking termination must prove by clear and convincing evidence
      that the parent’s conduct satisfies the statutory grounds for
      termination delineated in Section 2511(a). Only if the court
      determines that the parent’s conduct warrants termination of his
      or her parental rights does the court engage in the second part of
      the analysis pursuant to Section 2511(b): determination of the
      needs and welfare of the child under the standard of best interests
      of the child. One major aspect of the needs and welfare analysis
      concerns the nature and status of the emotional bond between
      parent and child, with close attention paid to the effect on the child
      of permanently severing any such bond.

In re L.M., 923 A.2d at 511 (citations omitted). We need only agree with the

court as to any one subsection of 2511(a), in addition to subsection 2511(b),

to affirm. In re B.L.W., 843 A.2d 380, 384 (Pa. Super. 2004) (en banc). We

note Mother presents no challenge pertaining to Subsection 2511(b).


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     Here, the trial court found grounds for termination of Mother’s parental

rights under Subsections 2511(a)(1), (2), (5), and (8). As stated above, her

argument on appeal refers only to Subsection (1). This Court could affirm on

the basis of Mother’s lack of any challenge under the other subsections. See

In re B.L.W., 843 A.2d at 384. Furthermore, we emphasize that Mother’s

sole claim is that the trial court erred in considering “old” evidence, rather

than evidence pertaining to the six-month period immediately preceding

DHS’s petitions.

     We consider the grounds for termination under Subsection (2):

         (a) General rule.—The rights of a parent in regard to a child
     may be terminated after a petition filed on any of the following
     grounds:

                                 *     *      *

              (2) The repeated and continued incapacity, abuse,
          neglect or refusal of the parent has caused the child to be
          without essential parental care, control or subsistence
          necessary for his physical or mental well-being and the
          conditions and causes of the incapacity, abuse, neglect or
          refusal cannot or will not be remedied by the parent.

23 Pa.C.S. § 2511(a)(2).

     In order to terminate parental rights pursuant to 23 Pa.C.S.[ ]
     § 2511(a)(2), the following three elements must be met: (1)
     repeated and continued incapacity, abuse, neglect or refusal; (2)
     such incapacity, abuse, neglect or refusal has caused the child to
     be without essential parental care, control or subsistence
     necessary for his physical or mental well-being; and (3) the
     causes of the incapacity, abuse, neglect or refusal cannot or will
     not be remedied.




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In re Adoption of M.E.P., 825 A.2d 1266, 1272 (Pa. Super. 2003) (citation

omitted). “The grounds for termination due to parental incapacity that cannot

be remedied are not limited to affirmative misconduct. To the contrary, those

grounds may include acts of refusal as well as incapacity to perform parental

duties.”    In re A.L.D., 797 A.2d 326, 337 (Pa. Super. 2002) (citations

omitted).

       Unlike the other subsections of Section 2511(a), Subsection (2) does

not set forth a time frame for a court’s consideration of the parent’s conduct.

See 23 Pa.C.S. § 2511(a)(1) (referring to the parent’s conduct “of at least six

months immediately preceding the filing of the petition”), (5) (“The child has

been removed from the care of the parent . . . for a period of at least six

months . . . .”), (6) (pertaining to “a newborn child”), (8) (“12 months or more

have elapsed from the date of removal or placement”).         Mother does not

present, and we have not discovered, any legal authority that a court is

precluded from considering relevant evidence presented in earlier proceedings

of the same dependency matter. Accordingly, no relief is due on Mother’s

challenge to the termination decrees.5

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5As Mother does not present argument pertaining to Subsection 2511(b),
we decline to sua sponte address it. This Court has observed:

       We acknowledge that panels of this Court have sometimes relied
       on In re C.L.G., 956 A.2d 999 (Pa. Super. 2008) (en banc), to
       address Section 2511(b), even where the appellant has made no
       effort to present a challenge regarding that section. In C.L.G.,
(Footnote Continued Next Page)


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                          VI. Goal Change to Adoption

       In her final issue, Mother presents a multitude of claims, contending the

trial court’s goal change orders were not supported by clear and convincing

evidence. For ease of review, we first set forth the relevant legal authority,

and then address her arguments seriatim.

       We first note:

       When we review a trial court’s order to change the placement goal
       for a dependent child to adoption, our standard is abuse of
       discretion. In order to conclude that the trial court abused its
       discretion, we must determine that the court’s judgment was
       manifestly unreasonable, that the court did not apply the law, or
       that the court’s action was a result of partiality, prejudice, bias or
       ill will, as shown by the record. We are bound by the trial court’s
       findings of fact that have support in the record. The trial court,
       not the appellate court, is charged with the responsibilities of
       evaluating credibility of the witnesses and resolving any conflicts
       in the testimony. In carrying out these responsibilities, the trial
       court is free to believe all, part, or none of the evidence. When
       the trial court’s findings are supported by competent evidence of


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       this Court . . . initially analyzed the trial court’s decision to
       terminate pursuant to Section 2511(a)(8).           We . . . then
       proceeded to address Section 2511(b), even though the appellant
       mother did not present any challenge regarding that section. This
       Court did not provide an explanation for its decision to address
       Section 2511(b). We merely stated: “Although Mother does not
       challenge the trial court’s analysis of Section 2511(b), we proceed
       to address this issue nonetheless.” Id. at 1010. We do not read
       C.L.G. to require consideration of Section 2511(b) in every appeal
       from a decree involuntarily terminating parental rights. This Court
       did not hold that consideration of Section 2511(b) was necessary
       in C.L.G., nor did we cite any authority in support of our decision
       to address Section 2511(b) sua sponte.

In re M.Z.T.M.W., 163 A.3d 462, 466 n.3 (Pa. Super. 2017).


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        record, we will affirm even if the record could also support an
        opposite result.

In re A.K., 936 A.2d 528, 532-33 (Pa. Super. 2007) (citation omitted).

        With respect to a goal change:

        The best interests of the child, and not the interests of the parent,
        must guide the trial court. [“A] child’s life simply cannot be put
        on hold in the hope that the parent will summon the ability to
        handle the responsibilities of parenting.”

In re A.B., 19 A.3d 1084, 1089 (Pa. Super. 2011) (citations omitted).

        When the child welfare agency has made reasonable efforts to
        return a foster child to his or her biological parent, but those
        efforts have failed, then the agency must redirect its efforts
        towards placing the child in an adoptive home. This Court has
        held that the placement process should be completed within 18
        months.

                                       *       *    *

        While this 18-month time frame may in some circumstances seem
        short, it is based on the policy that a child’s life simply cannot be
        put on hold in the hope that the parent will summon the ability to
        handle the responsibilities of parenting.

In re A.K., 936 A.2d at 533 (citation omitted).

        Section 6351(f) of the Juvenile Act6 provides:

             (f) Matters to be determined at permanency hearing.—
        At each permanency hearing, a court shall determine all of the
        following:

                (1) The continuing necessity for and appropriateness of
            the placement.



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6   42 Pa.C.S. §§ 6301-6375.


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             (2) The appropriateness, feasibility and extent of
          compliance with the permanency plan developed for the child.

               (3) The extent of progress made toward alleviating the
          circumstances which necessitated the original placement.

              (4) The appropriateness and feasibility of the current
          placement goal for the child.

               (5) The likely date by which the placement goal for the
          child might be achieved.

              (5.1) Whether reasonable efforts were made to finalize
          the permanency plan in effect.

              (6) Whether the child is safe.

               (7) If the child has been placed outside the
          Commonwealth, whether the placement continues to be best
          suited to the safety, protection and physical, mental and
          moral welfare of the child.

               (8) The services needed to assist a child who is 14 years
          of age or older to make the transition to successful adulthood.

               (8.1) Whether the child continues to meet the definition
          of “child” and has requested that the court continue
          jurisdiction pursuant to section 6302 if the child is between
          18 and 21 years of age.

              (8.2) That a transition plan has been presented in
          accordance with section 475 of the Social Security Act (49
          Stat. 620, 42 U.S.C. § 675(5)(h)).

               (9) If the child has been in placement for at least 15 of
          the last 22 months or the court has determined that
          aggravated circumstances exist and that reasonable efforts
          to prevent or eliminate the need to remove the child from the
          child’s parent, guardian or custodian or to preserve and
          reunify the family need not be made or continue to be made,
          whether the county agency has filed or sought to join a
          petition to terminate parental rights and to identify, recruit,
          process and approve a qualified family to adopt the child
          unless:

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                   (i) the child is being cared for by a relative best
              suited to the physical, mental and moral welfare of the
              child;

                   (ii) the county agency has documented a compelling
              reason for determining that filing a petition to terminate
              parental rights would not serve the needs and welfare of
              the child; or

                   (iii) the child’s family has not been provided with
              necessary services to achieve the safe return to the
              child’s parent, guardian or custodian within the time
              frames set forth in the permanency plan.

                                  *    *       *

          (10) If a sibling of a child has been removed from his home
     and is in a different placement setting than the child, whether
     reasonable efforts have been made to place the child and the
     sibling of the child together or whether such joint placement is
     contrary to the safety or well-being of the child or sibling.

          (11) If the child has a sibling, whether visitation of the child
     with that sibling is occurring no less than twice a month, unless a
     finding is made that visitation is contrary to the safety or well-
     being of the child or sibling.

          (12) If the child has been placed with a caregiver, whether
     the child is being provided with regular, ongoing opportunities to
     participate in age-appropriate or developmentally appropriate
     activities.   In order to make the determination under this
     paragraph, the county agency shall document the steps it has
     taken to ensure that:

              (i) the caregiver is following the reasonable and prudent
          parent standard; and

               (ii) the child has regular, ongoing opportunities to engage
          in age-appropriate or developmentally appropriate activities.
          The county agency shall consult with the child regarding
          opportunities to engage in such activities.

42 Pa.C.S. § 6351(f)(1)-(12).

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      In the instant appeal, Mother avers the trial court failed to consider all

the statutory factors of 42 Pa.C.S. § 6351(f):

           The trial court’s summary conclusions about each child reveal
      that the court focused on Mother’s actions and gave insufficient
      weight to the best interests of the children. See In re B.S., 861
      A.2d [974, 978 (Pa. Super. 2004)] (holding that trial court erred
      by focusing on Mother’s parenting skills instead of child’s best
      interests). The court does not discuss the bond between the
      children and their mother or provide facts to support its sweeping
      conclusion that there is no “real parental relationship” between
      [J.B.] and his parents.

Mother’s Brief at 57. We disagree.

      The trial court’s analysis was not delineated to specifically address each

Section 6351(f) factor in turn. Nevertheless, the court’s opinion thoroughly

discussed the evidence presented and its findings. We disagree with Mother’s

claim that the trial court improperly “focused” on her actions, while ignoring

the children’s best interests and her bond with them. See Mother’s Brief at

57. The court considered Case Manager Jackson’s testimony that “Mother was

generally consistent with visitation from 2019 until March 2020.” Trial Ct. Op.

at 27-28. However, with regard to

      the quality of the visits, Ms. Jackson testified Mother was
      aggressive with J.B. more than she was with the other two
      Children. She indicated to him that he needed to keep his mouth
      shut and not tell people things because that’s why the Children
      were in Foster Care. When the visits became virtual there were
      more issues[.] Mother would use the time to insult the Caregivers
      and spent little time interacting with the Children. Mother told
      J.B. that he needed to watch out for his brothers and if anybody
      touched them, J.B. was to get a knife and stab them. Ms. Jackson
      stated she discussed with Mother the inappropriateness of her
      comments and urged her to use the time to bond with her
      Children. She noted that in April 2020, during virtual visits,

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     Mother would refer to the Foster Parents in derogatory
     homophobic terms and indicated to the Children not to let the
     Foster Parents touch them because the women touch each other.
     The Children were between the ages of two and seven years old
     at this time.

          [Case Manager Jackson] noted that the visits became in-
     person in September of 2020, and Mother’s visits became
     supervised one hour once per week at the Agency. The visits were
     decreased because of the content of the visits and Mother’s
     behavior during the visits. Mother did not have contact with the
     Children from November 2020 until February 2021 because she
     was incarcerated. Ms. Jackson testified she reached out to
     Montgomery County Prison to schedule contact, however, they
     never followed through were her requests.

          Ms. Jackson noted that J.B. stopped attending the visits
     before Mother was incarcerated. He stated he did not want to visit
     with Mother and asked if he was forced to see her. J.B. told her
     his Mother was mean and she made him feel bad about himself
     and he did not want to visit with her. She also noted that after
     visits with his Mother. J.B. would exhibit negative behavior, was
     in a bad mood and very defiant.

         [Case Manager Jackson] noted that during the time Mother
     was incarcerated the Children did not ask for her. [N.T., 4/28/21,
     at 80-88.]

          Ms. Jackson opined that the Children would not suffer
     irreparable harm if Mother’s parental rights were terminated. J.B.
     does not look to Mother for support and comfort and is not bonded
     to her. In fact. he specifically stated he feels bad about himself
     when he is with her.

         Regarding H.W., he does not display any attachment to
     Mother.

          Regarding M.J., who was two months old when he came into
     care, he has not developed a maternal-child bond with Mother.
     Ms. Jackson testified she has not observed a parental bond
     between Mother and the Children. She opined these Children do
     not have a parental bond with Mother and would not suffer
     irreparable harm if Mother’s rights were terminated. [N.T.,
     4/28/21, at 88-91.]

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Trial Ct. Op. at 27-29 (paragraph breaks added). The trial court found Case

Manager Jackson’s testimony to be credible.

      The trial court also found credible

      persuasive testimony from Mike Graves, Esquire, [the child
      advocate for J.B.. He] testified he spoke to J.B., who is seven and
      one-half years old, and explained Adoption and his other options.
      It appeared to him that [J.B.] understood what Adoption was and
      told him he was fine where he was now. J.B. told him he would
      like to be Adopted, however, he also stated that he did want to
      still have visitation with his parents, and his prior caretakers.
      [N.T., 6/1/21, at 73-74.]

Trial Ct. Op. at 33.

      Finally, the trial court weighed the above evidence with Mother’s

testimony that “she maintains an emotional connection with her Children and

shows them affection during visits. She stated the Children are happy to see

her and that she can provide a loving and stable home for them now at her

Grandmother’s house” in Philadelphia. Trial Ct. Op. at 31.

      Ultimately, the trial court concluded Mother did not have a bond with

any of the Children, and that termination and adoption were in the Children’s

best interests. In its opinion, the court incorporated the statements it made

at the June 1, 2021, hearing:

      The evidence in this case goes back for a substantial period of
      time beginning with the adjudication of these children, based upon
      the circumstances then. We’ll start with J.B. Here the record is
      clear, convincing that the parents have done nothing to remedy
      the issues that brought this child into court. Neither parent is
      ready, willing and able to care for this child at this time.




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           There’s a substantial credibility issue between what [M]other
      believes to be her case and what the reality is. And I give little
      weight to [M]other’s testimony. The case worker that testified has
      an extremely comprehensive grasp on the facts and the history of
      this case, understands these children.

           Mother lives in a kind of fantasy world where she believes that
      she can keep treating [sic]. Although she has no symptoms she
      continues to treat for drug and alcohol issue and mental health
      issues and she says, I don’t have any drug issues or mental health
      issues. But I think the inference to be drawn from that is she
      does.

           And I believe, based on her testimony and some of the
      irrational beliefs and the deceptive testimony by [M]other,
      indicates that she has no awareness of what it takes to raise a
      child. She believes that this child, as well as the other children,
      can just kind of hang around for a little while and maybe mom will
      be able to complete all of her objectives and begin to think about
      parenting a child.

           The very fact that she wants to live in a home with a
      grandparent who was involved and responsible for the original
      injuries that brought this child into care suggests that she has no
      concept of reality. And it doesn’t appear that she’s going to be
      able to gain that context with any near — in any future period of
      time.

Trial Ct. Op. at 43, quoting N.T., 6/1/21, at 74-76.

      These findings, while disadvantageous to Mother’s case, disprove her

contention that the court did not consider whether any bond existed. See

Mother’s Brief at 57.

      Mother next argues the trial court failed to “address any timeframe for

when [adoption] might happen” or “whether efforts should be made to place

the children in the same home[,]” in contravention of 42 Pa.C.S. § 6351(f)(5)

and (10). Mother’s Brief at 57.


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      We note that at the June 1, 2021, hearing, Case Manager Jackson

testified that the three children were currently in different foster homes. N.T.,

6/1/21, at 79. However, her agency would “continue the search for either one

of these foster parents or another foster parent so that the children may be

adopted together.” Id. at 80. Furthermore, the trial court addressed Case

Manager Jackson’s April 28, 2021, testimony in its opinion:

      Ms. Jackson stated . . . there is a possibility that one of the Foster
      Parents who is currently fostering M.B., stated [sic] once she
      stabilized M.B., she would be willing to have the other two Children
      join their sibling at her house. Ms. Jackson opined that the
      Children would benefit from positive long-term parental
      relationships. [N.T., 4/28/21, at 104-105.]

Trial Ct. Op. at 29.

      Contrary to Mother’s unsupported claim, the trial court did consider

whether efforts were made to place the children in the same home. See 42

Pa.C.S. § 6351(f)(10); Mother’s Brief at 57. Although the trial court did not

specify a “likely date by which the placement goal for the [Children] may be

achieved,” we do not find an abuse of discretion. See 42 Pa.C.S. § 6351(f)(5).

As of the June 1, 2021, hearing, the children were in foster placement and the

Turning Points for Children case manager testified they had been searching

for a home where all three children could live together.

      Finally, Mother claims the trial court improperly “deferred to the opinions

of Dr. Russell (who interviewed Mother in 2019) and [Case Manager] Ms.

Jackson, rather than decide based on all the evidence presented at trial.”

Mother’s Brief at 58. She also argues the trial court erred in not considering

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the thirteen documents that the court had ruled inadmissible on hearsay

grounds. Id. at 59, citing Pa.R.Juv.Ct.P. 1608(C)(1) (“Any evidence helpful

in determining the appropriate course of action, including evidence that was

not admissible at the adjudicatory hearing, shall be presented to the court.”).

      As stated above, the trial court found Case Manager Jackson’s and Dr.

Russell’s testimony to be credible, and specifically found Mother’s testimony

not credible.   The trial court was free to believe all, part, or none of the

evidence. See In re A.K., 936 A.2d at 532-33. Mother’s arguments go to

the weight to be afforded the evidence, and her requested relief would require

this Court to supplant the trial court’s credibility determinations and findings

of fact with our own. This we cannot do. See id. Instead, we determine the

court’s findings are supported by the record, and accordingly, we do not

disturb them.

                                VII. Conclusion

      As Mother has not presented any meritorious claim for relief, we affirm

the three termination orders and three goal change orders. The parties are

directed to attach a copy of the trial court opinion to this memorandum in the

event of further proceedings.

      Orders affirmed.




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Judgment Entered.




Joseph D. Seletyn, Esq.
Prothonotary



Date: 12/14/2021




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